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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 MIKHAIL SIGACHEV,
                                                                           JUDGMENT
                          Plaintiff,
                 v.
                                                                           20-CV-1458 (PKC)
CHAD WOLF, U.S. Department of Homeland Security;
KEN CUCCINELLI, Director of U.S. Citizenship and
Immigration Services; WILLIAM BARR, Attorney
General; CHRISTOPHER A. WRAY, Director of
Federal Bureau of Investigation,

                           Defendants.
---------------------------------------------------------------X
         An Order of the Honorable Pamela K. Chen, United States District Judge, having been

filed on May 19, 2020, dismissing this action without prejudice, with each party to bear its own

costs, expenses, and fees; it is

        ORDERED and ADJUDGED that this action is dismissed without prejudice, with each

party to bear its own costs, expenses, and fees.

Dated: Brooklyn, New York                                            Douglas C. Palmer
       May 22, 2020                                                  Clerk of Court

                                                               By:   /s/Jalitza Poveda
                                                                     Deputy Clerk
